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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                           GAINESVILLE DIVISION


MAE WAGES,
                                             Civil Action No.
     Plaintiff,

v.
                                             JURY TRIAL DEMANDED
LILY TRANSPORTATION, CORP.,

     Defendant.


                        COMPLAINT FOR DAMAGES

        COMES NOW, Plaintiff Mae Wages (“Plaintiff” or “Ms. Wages”), by and

through undersigned counsel, and files her Complaint for Damages against

Defendant Lily Transportation, Corp., (“Defendant” or “Lily Transportation”), and

shows the Court as follows:

                         NATURE OF COMPLAINT

                                        1.

        Plaintiff brings this action for damages for equal pay violations and

retaliation under the Equal Pay Act of 1963, 29 U.S.C. § 206 (d) and 29 U.S.C.

§ 215(a) (“EPA”).
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                          JURISDICTION AND VENUE

                                            2.

      Plaintiff invokes the jurisdiction of this court pursuant to 28 U.S.C. §§ 1331

and 1343(a)(4) and 29 U.S.C. § 216(b).

                                            3.

      This Court is an appropriate venue for all Plaintiff’s claims under 28 U.S.C.

§ 1391(b) because a substantial majority of the events giving rise to Plaintiff’s

claims occurred in the judicial district.

                                      PARTIES

                                            4.

      Plaintiff is a female citizen of the United States of America and is subject to

the jurisdiction of this Court.

                                            5.

      Defendant conducts business in this district and is subject to specific

jurisdiction over the claims asserted herein.

                                            6.

      Defendant employed Plaintiff during the relevant time period.




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                                          7.

      Defendant, at all times material, conducted business within this District.

                                          8.

      Defendant is governed by and subject to the EPA, 29 U.S.C. § 206(d) and

§ 215(a)(3).

                                          9.

      Plaintiff is a citizen of the United States of America and a resident of the

State of Georgia.

                                          10.

      Defendant may be served by delivering a copy of the summons and

complaint to its Registered Agent, C T Corporation System, 155 Federal St., Ste

700, Boston, Massachusetts 02110.

                          FACTUAL ALLEGATIONS

                                          11.

      On June 6, 2019, Ms. Wages was hired by Defendant as a CDL Truck

Driver.

                                          12.

      Ms. Wages’ starting pay was $21.00 an hour.




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                                         13.

      Ms. Wages has 38 years of experience in the trucking business.

                                         14.

      During a July 2019 safety meeting, Manager Mr. Cameron Cobb introduced

a young male truck driver to the other drivers and stated that the young male truck

driver was just out of truck driving school and was earning $25.00 an hour.

                                         15.

      Ms. Wages learned that other male truck drivers, who were driving similar

routes as Ms. Wages, were hired at a starting hourly rate between $23.00 and

$29.00.

                                         16.

      Many of these male drivers had little to no experience and were hired

immediately upon their completion of trucking school.

                                         17.

      Other female truck drivers were paid less than the male truck drivers as well,

including Ms. Charity McGowen.

                                         18.

      Mr. Cobb stated that truck drivers’ hourly wages would be commensurate

with experience.


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                                         19.

      Ms. Wages went to Mr. Cobb and asked why she was told, at the time she

was hired, that everyone makes $21.00 upon hiring. Ms. Wages reminded Mr.

Cobb that she had 38 years of experience as a driver.

                                         20.

      Mr. Cobb stated that he would give Ms. Wages a raise soon.

                                         21.

      When Ms. Wages asked her supervisor, Mr. Farrah, he stated that they are

paying male truck drivers $28.00 or more an hour but that they will not pay the

female truck drivers that much.

                                         22.

      In July, following the safety meeting, Ms. Wages approached Mr. Cobb

about a raise, and he refused to raise her salary. Ms. Wages then told Mr. Cobb that

she would be filing a complaint with the EEOC.

                                         23.

      That day, when Ms. Wages returned home from work, she contacted the

EEOC to file a charge, which she showed to her employer the next day.

                                         24.

      When the EEOC charge was not accepted at first, Ms. Wages continued


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filing until it was accepted.

                                          25.

      Ms. Wages showed her employer the information she was providing to the

EEOC every month after she attempted to file a charge.

                                          26.

      In July, when Ms. Wages provided Mr. Cobb with her EEOC charge that she

was attempting to file, he threw the paper in her face and told her to get out of his

office. Ms. Wages’ sister, Joann Parsons, witnessed this.

                                          27.

      On October 9, 2019, after Ms. Wages’ third or fourth EEOC charge attempt

was accepted, Ms. Wages was asked to come into the EEOC’s office. Ms. Wages

was able to file an EEOC charge for EPA claims and Title VII claims against

Defendant and provided copies to Defendant.

                                          28.

      Following Ms. Wages’ reports, Defendant, specifically Manager Mr.

Cameron Cobb and General Manager Mr. Jim LeClaire issued unwarranted

disciplinary actions and reduced her work hours.

                                          29.

      Additionally, Defendants, who knew that Ms. Wages had asthma and


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allergies, began having her drive trucks after drivers who smoked were in them.

                                            30.

        On October 29, 2019, the Director of Human Resources, Mr. Gary Martin

and Mr. LeClaire told Ms. Wages that if she withdrew her EEOC charge, they

would remove the disciplinary actions taken against her and allow her to keep her

job.

                                            31.

        Plaintiff told Mr. LeClaire and Mr. Martin that she refused to withdraw her

EEOC charge.

                                            32.

        On November 22, 2019, Mr. LeClaire sent Ms. Wages an email informing

her that she was terminated.

                                            33.

        Defendant paid Plaintiff less than her male counterparts for similar or equal

work.

                                            34.

        Although Defendant purports to provide a legitimate non-discriminatory

reason for the adverse action, this reason is a pre-text.




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                                            35.

      Others outside the Plaintiff’s protected class were treated differently.

                              CLAIMS FOR RELIEF

             COUNT I: VIOLATION OF THE EQUAL PAY ACT

                                            36.

      Plaintiff re-alleges paragraphs 11-35 as if set forth fully herein.

                                            37.

      Defendant willfully paid Plaintiff lower wages, salary, and benefits than

male employees performing substantially similar work.

                                            38.

      Defendant’s actions have deprived Plaintiff of equal pay for equal work in

violation of the EPA.

                                            39.

      Plaintiff is entitled to actual and liquidated damages, attorneys’ fees, and

costs of litigation as a result of the Defendant’s violation.

 COUNT II: RETALIATION IN VIOLATION OF THE EQUAL PAY ACT

                                            40.

      Plaintiff re-alleges paragraphs 11-35 as if set forth fully herein.




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                                           41.

      Defendant’s actions, as detailed above, in disciplining and terminating

Plaintiff, and reducing her work hours because of her protected activity

(complaining to management about unequal pay and filing an EEOC charge)

constitutes unlawful intentional retaliation in violation of the Equal Pay Act.

                                           42.

      Defendant willfully and wantonly disregarded Plaintiff’s rights, and

Defendant’s retaliation against Plaintiff was untertaken in bad faith.

                                           43.

      Accordingly, Defendant is liable for the damages Plaintiff has sustained

damages as a result of Defendant’s unlawful retaliation, as well as punitive

damages based on Defendant’s willful misconduct.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests that this Court:

      (a)          General damages for mental and emotional suffering caused by

                   Defendant’s misconduct;

      (b)          Punitive damages based on Defendant’s willful, malicious,

                   intentional,   and    deliberate   acts,   including   ratification,

                   condonation, and approval of said acts;


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      (c)         Special damages and/or liquidated damages for lost wages and

                  benefits and prejudgment interest thereon;

      (d)         Reasonable attorney's fees and expenses of litigation;

      (e)         Trial by jury as to all issues;

      (f)         Prejudgment interest at the rate allowed by law;

      (g)         Declaratory relief to the effect that Defendant has violated

                  Plaintiff’s statutory rights;

      (h)         Injunctive relief of reinstatement, or front pay in lieu thereof,

                  and prohibiting Defendant from further unlawful conduct of the

                  type described herein; and

      (i)         All other relief to which she may be entitled.


      Respectfully submitted the 26th day of April, 2021.

                                              BARRETT & FARAHANY

                                              s/ V. Severin Roberts
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